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UNITED STATES DISTRICT COURT                                                                  12/11/20
                                                                                              12/14/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                      20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                           ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On December 8, 2020, Defendant Ghislaine Maxwell filed her renewed application for

bail under seal with proposed redactions, in accordance with this Court’s December 7, 2020

Order, see Dkt. No. 89. The Government did not file any opposition to the Defendant’s proposed

redactions.

       After due consideration, the Court will adopt the Defendant’s proposed redactions. The

Court’s decision to adopt those redactions is guided by the three-part test articulated by the

Second Circuit in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). Under

this test, the Court must: (i) determine whether the documents in question are “judicial

documents;” (ii) assess the weight of the common law presumption of access to the materials;

and (iii) balance competing considerations against the presumption of access. Id. at 119–20.

“Such countervailing factors include but are not limited to ‘the danger of impairing law

enforcement or judicial efficiency’ and ‘the privacy interests of those resisting disclosure.’” Id. at

120 (quoting United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir.1995) (“Amodeo II”)).

       The proposed redactions satisfy this test. The Court finds that Defendant’s letter motions

are “relevant to the performance of the judicial function and useful in the judicial process,”

thereby qualifying as a “judicial document” for purposes of the first element of the Lugosch test.


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United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995). And the Court also

finds that the common law presumption of access attaches. Id. at 146; see also Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 602 (1978). Nevertheless, in balancing competing considerations

against the presumption of access, the Court finds that the redactions are narrowly tailored to

properly guard the privacy interests of the individuals referenced in the Defendant’s submission

and in the corresponding exhibits.

       The Defendant is hereby ORDERED to docket the redacted documents and

corresponding exhibits.

       SO ORDERED.

Dated: December 14, 2020                         __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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